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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  11/5/2020
WANDEL CASTILLO,                                          :
                                                          :
                                        Plaintiff,        :
                                                          :              18-CV-9633 (VSB)
                      - against -                         :
                                                          :                    ORDER
                                                          :
AURORA VEGETABLE MARKET CORP., :
et al.                                                    :
                                                          :
                                         Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        I held a conference in this matter on June 19, 2020, to discuss defense counsel’s motion

to withdraw as attorney and the status of discovery in the matter. At the conference the parties

agreed to make one last attempt at settlement, and to update me on whether they have

successfully settled the matter, or if I should rule on the motion to withdraw as counsel. The

parties have not filed any such letter. Accordingly, it is:

        ORDERED that on or before November 13, 2020, the parties are directed to file a joint

letter no longer than 3 pages with an update as to the status of settlement and discovery, and

whether I should rule on the motion to withdraw as counsel.

SO ORDERED.

Dated: November 5, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
